
USCA1 Opinion

	










          August 25, 1995
                            UNITED STATES COURT OF APPEALS

                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 93-1511
        No. 93-2206
        No. 94-1508

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   VINCENT HURLEY,

                                Defendant, Appellant.
                                 ____________________

        No. 93-1560
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                    CARLO DeMARCO,
                                Defendant, Appellant.

                                 ____________________
        No. 93-1561

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   JAMES SACCOCCIO,

                                Defendant, Appellant.
                                 ____________________

        No. 93-1562
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                   STANLEY CIRELLA,
                                Defendant, Appellant.

                                 ____________________





















        No. 93-1563
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                  KENNETH SACCOCCIO,
                                Defendant, Appellant.

                                 ____________________
        No. 93-1616

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                    STEPHEN PIZZO,

                                 Defendant, Appellant
                                 ____________________

        No. 93-1617
        No. 93-2207
        No. 94-1507
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                   DONNA SACCOCCIA,
                                Defendant, Appellant.

                                 ____________________
        No. 94-1388

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   ANTHONY DeMARCO,

                                Defendant, Appellant.
                                 ____________________


























                                     ERRATA SHEET


            The opinion of the Court, issued on July 24, 1995, is amended as
        follows.

            On cover  sheet,  change  government's  counsel listing  to  read:
        "Kathleen A. Felton, Criminal Division, Appellate Section,  Department
         __________________
        of Justice and Michael P. Iannotti, Assistant  United States Attorney,
                       ___________________
        with whom Sheldon Whitehouse, United States Attorney, James H.  Leavey
                  __________________                          ________________
        and  Michael E. Davitt, Assistant United States Attorneys, and John P.
             _________________                                         _______
        Elwood, Criminal Division, Department of  Justice, were on joint brief
        ______
        for the United States."






















































                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________
        No. 93-1511
        No. 93-2206
        No. 94-1508

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   VINCENT HURLEY,

                                Defendant, Appellant.
                                 ____________________

        No. 93-1560
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                    CARLO DeMARCO,
                                Defendant, Appellant.

                                 ____________________
        No. 93-1561

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   JAMES SACCOCCIO,

                                Defendant, Appellant.
                                 ____________________

        No. 93-1562
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                   STANLEY CIRELLA,
                                Defendant, Appellant.

                                 ____________________
        No. 93-1563

                              UNITED STATES OF AMERICA,


















                                      Appellee,
                                          v.

                                  KENNETH SACCOCCIO,
                                Defendant, Appellant.

                                 ____________________
        No. 93-1616

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                    STEPHEN PIZZO,

                                 Defendant, Appellant
                                 ____________________

        No. 93-1617
        No. 93-2207
        No. 94-1507
                              UNITED STATES OF AMERICA,

                                      Appellee,
                                          v.

                                   DONNA SACCOCCIA,
                                Defendant, Appellant.

                                 ____________________
        No. 94-1388

                              UNITED STATES OF AMERICA,
                                      Appellee,

                                          v.
                                   ANTHONY DeMARCO,

                                Defendant, Appellant.
                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND

                     [Hon. Ernest C. Torres, U.S. District Judge]
                                             ___________________
                                 ____________________


                                        Before

                                Selya, Cyr and Boudin,

















                                   Circuit Judges.
                                   ______________
                                 ____________________

            Terrance Reed and Edward  C. Roy with whom  Reed &amp; Hostage,  Roy &amp;
            _____________     ______________            ______________   _____
        Cook,  James T. McCormick,  McKenna &amp;  McCormick, Michael  C. Andrews,
        ____   __________________   ____________________  ___________________
        Mary June  Ciresi, Vincent  Indeglia, Indeglia  &amp;  Associates, Richard
        _________________  _________________  _______________________  _______
        Inglis,  and Garguilo,  Rudnick &amp;  Garguilo were  on joint  briefs for
        ______       ______________________________
        appellants   Donna  Saccoccia,  Stanley  Cirella,  Kenneth  Saccoccio,
        Vincent Hurley, James Saccoccio, Carlo DeMarco and Stephen Pizzo.
            Robert D. Watt, Jr. for appellant Anthony DeMarco. 
            ___________________
            Kathleen  A.   Felton,  Criminal   Division,  Appellate   Section,
            _____________________
        Department of Justice and Michael P. Iannotti, Assistant United States
                                  ___________________
        Attorney, with whom Sheldon Whitehouse, United States Attorney,  James
                            __________________                           _____
        H. Leavey and  Michael E. Davitt,  Assistant United States  Attorneys,
        _________      _________________
        and  John P. Elwood, Criminal Division, Department of Justice, were on
             ______________
        joint brief for the United States.
























































                                 ____________________

                                    July 24, 1995
                                 ____________________


























































                 BOUDIN, Circuit Judge.   The eight appellants  challenge
                         _____________

            their  convictions,  sentences  and  forfeitures   for  their

            participation  in  an  extensive money  laundering  operation

            organized by Stephen Saccoccia.   His conviction and sentence

            were  affirmed in  United States  v. Saccoccia,  No. 93-1618,
                               _____________     _________

            slip. op. (1st Cir. June 28,  1995).  In this case, we affirm

            the  convictions of  the  eight appellants  before us,  their

            sentences, and the forfeiture orders entered against them.

                                    I. BACKGROUND
                                    I. BACKGROUND

                 The  eight  appellants  are  Donna  Saccoccia  (wife  of

            Stephen), her brother Vincent Hurley, James Saccoccio and his

            brother  Kenneth  Saccoccio,  Carlo DeMarco  and  his brother

            Anthony DeMarco,  Stanley Cirella  and Stephen Pizzo.   Along

            with Stephen  Saccoccia and others, appellants  were indicted

            on November  18, 1991, and  were charged  with conspiracy  to

            violate  the Racketeer  Influenced and  Corrupt Organizations

            Act ("RICO"), 18 U.S.C.   1962(d).  Certain of them were also

            charged with  substantive  counts  of  money  laundering,  18

            U.S.C.     1956-57, currency reporting offenses,  31 U.S.C.  

            5324, and interstate travel in aid of racketeering, 18 U.S.C.

              1952.

                 One  conspirator  originally charged,  David  Izzi, pled

            guilty  before  trial  and  testified  for   the  government.

            Stephen Saccoccia was severed and tried separately due to the

            illness  of  his  counsel.    Alfred  Gabriele,  added  as  a



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            conspirator  in  a  superseding  indictment, was  also  tried

            separately, and his  appeal is still pending.   United States
                                                            _____________

            v. Gabriele, No. 94-1215 (1st Cir.).  The end result was that
               ________

            the  eight appellants in this case were tried together in the

            district court in Rhode  Island.  Trial began on  November 6,

            1992, and ended in a jury verdict on December 18, 1992.

                 At  trial, the government's evidence consisted primarily

            of  the   testimony  of  other  participants   in  the  money

            laundering activities, of Colombian nationals involved in the

            international  drug  trade,  and  of  bank  employees.    The

            government   also   offered   bank   records   of   financial

            transactions and numerous  court-ordered wiretap  recordings.

            Viewed in the  light most favorable  to the verdicts,  United
                                                                   ______

            States  v. Valerio,  48  F.3d 58,  63  (1st Cir.  1995),  the
            ______     _______

            evidence permitted a reasonable jury to find the following.

                 Stephen  Saccoccia  owned  and  controlled  a number  of

            precious metals businesses, including Saccoccia  Coin Company

            in  Cranston, Rhode Island ("Saccoccia Coin"); Trend Precious

            Metals in Cranston and  in New York, New York  ("Trend"); and

            International  Metal  Marketing  ("International Metal")  and

            Clinton  Import/Export in  Los Angeles,  California ("Clinton

            Import/Export").   In  the  late 1980s,  after some  indirect

            dealings,  Stephen Saccoccia began  laundering drug money for

            Duvan Arboleda, a Colombian narcotics dealer.  The laundering

            operation, ultimately expanded to serve a second drug ring as



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            well,  took  several  forms   but  each  began  with  Stephen

            Saccoccia  receiving  large  amounts  of cash  in  New  York,

            generated from the  sale of cocaine.   Often, Saccoccia would

            send  one of his employees, usually unindicted co-conspirator

            Richard  Gizzarelli, to  a  prearranged location,  such as  a

            street  corner, to  meet  a customer's  courier.   Gizzarelli

            would bring  the cash to the  Trend office in New  York or to

            Saccoccia's apartment in New York to count it.

                 The money then followed  two different routes.  Some  of

            the  cash would be used to purchase money orders or gold; the

            gold and some of the remaining  cash would then be shipped to

            International Metal in Los Angeles.  Much of the  rest of the

            cash--up to  $200,000 per  day--would  be sent  to Trend  and

            Saccoccia Coin  in Rhode  Island, either through  armored car

            service or in the car of a Saccoccia employee.

                 Once the cash  reached Rhode Island,  it was counted  by

            Saccoccia employees and divided into  a number of packets  in

            amounts  either greater than or  less than $10,000.   Most of

            the cash went  to the  Trend office in  Cranston.   Saccoccia

            employees,  directed by Izzi, then drove to local banks where

            they purchased cashier's checks  in amounts less than $10,000

            payable to Trend, or cashier's checks in amounts greater than

            $10,000 payable to companies nominally  owned by Hurley.  The

            purpose   of  these   maneuvers--called  "smurfing"   in  law

            enforcement parlance--was to avoid  or minimize the filing of



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            accurate currency transaction reports, which  are required by

            federal law for cash deposits in amounts of $10,000 or more.

                 Ultimately  the  local  Rhode  Island  checks  would  be

            deposited in, and  money from the  Hurley accounts wired  to,

            the  Trend account  at  Citizens Bank  in  Rhode Island.    A

            smaller  portion of  the cash  sent to  Rhode Island  went to

            Saccoccia  Coin.   That  cash was  used  to buy  gold without

            documentation;  the  gold  was  then   resold  to  legitimate

            companies  in exchange  for checks  recorded as  payments for

            gold  sales.  Some of the cash  was also used in the ordinary

            operations of  the Saccoccia Coin Shop,  a heavily cash-based

            enterprise.

                 At the  Los Angeles end, the gold  sent to International

            Metal was sold, and the proceeds were wired back to the Trend

            account  at Citizens  Bank.   Cash received  by International

            Metal was used to  purchase gold covertly, the gold  was then

            sold,  and the proceeds were also wired to the Trend account.

            Thus,  the bulk of  the cash that  Saccoccia sent out  of New

            York eventually ended  up in the  Trend account at  Citizens.

            Citizens  Bank  closed  the  Trend  account  in  April  1991.

            Thereafter,  cash was  still  transported from  New York  and

            "smurf" employees in  Rhode Island  still obtained  cashier's

            checks  from  various banks,  but  the  checks were  sent  to

            International Metal and Clinton Import/Export in Los Angeles.





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                                         -7-















                 Donna Saccoccia assisted her  husband in most aspects of

            the  operation, relayed  his instructions  to the  others and

            wired funds  abroad to Colombian  banks.  Hurley  and Anthony

            DeMarco  picked  up  cash  from  couriers  in  New  York  and

            transported it  to Rhode Island.   Hurley, Anthony  and Carlo

            DeMarco,  Kenneth  and  James Saccoccio,  Cirella  and  Pizzo

            received  the cash  deliveries in  Rhode Island,  counted the

            money, and separated it into  packets of smaller amounts  for

            transport to  local banks.   Anthony  DeMarco  and James  and

            Kenneth Saccoccio bought the bulk of the cashier's checks.

                 A  staggering  amount   of  money  moved   through  this

            laundering operation.  Between March  1, 1990, and August 22,

            1991, Stephen  or Donna Saccoccia wired over  $136 million to

            foreign bank  accounts primarily  in Colombia; more  than $97

            million  of this amount was  wired from the  Trend account in

            Citizens Bank jointly controlled by Donna and Stephen.  Apart

            from the $136 million, substantial sums were  retained by the

            Saccoccias and their employees as compensation.

                 All eight  appellants were convicted of RICO conspiracy.

            All but Carlo DeMarco and Pizzo were convicted of substantive

            offenses.     After   post-trial  motions,   appellants  were

            sentenced in May 1993,  and forfeiture judgments against each

            appellant  were  entered  pursuant  to  the  RICO  forfeiture

            statute, 18  U.S.C.   1963, and in some cases under the money

            laundering forfeiture statute.  18 U.S.C.   982.  Appellants'



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                                         -8-















            substantive  convictions  (in addition  to  RICO conspiracy),

            their sentences,and their forfeiture amountsare listed below:


             Name        Substantive         Sentence    Forfeiture
                         conviction                      amount
             Donna       13 counts of money  14 yrs., 2  $136,344,231.86
             Saccoccia   laundering (18      yrs.
                         U.S.C.   1956),     supervised
                         and 47 counts of    release
                         unlawful
                         transactions ( 
                         1957).

             Vincent     1 count             18 yrs., 3  $136,344,231.86
             Hurley      structuring (31     yrs.
                         U.S.C.   5324(3)),  supervised
                         and 1 count of      release
                         interstate travel
                         in aid of
                         racketeering (18
                         U.S.C.   1952).

             James       15 counts of        10 yrs., 3  $37,456,100.79
             Saccoccio   structuring.        yrs.
                                             supervised
                                             release
             Kenneth     14 counts of        12 yrs., 3  $37,456,100.79
             Saccoccio   structuring.        yrs.
                                             supervised
                                             release

             Stanley     1 count of          9 yrs., 2   $37,456,100.79
             Cirella     structuring.        yrs.
                                             supervised
                                             release

             Anthony     5 counts of filing  7 yrs., 3   $136,344,231.86
             DeMarco     false currency      yrs.
                         transaction         supervised
                         reports (31 U.S.C.  release
                           5324(2)); 2
                         counts of
                         structuring.
             Carlo       No substantive      6.5 yrs.,   $3,927,357.55
             DeMarco     conviction.         2 yrs.
                                             supervised
                                             release



                                         -9-
                                         -9-
















             Stephen     No substantive      8.5 yrs.,   $37,456,100.79
             Pizzo       conviction.         3 yrs.
                                             supervised
                                             release

                 These appeals followed.

                                 II.  THE RICO ISSUES
                                 II.  THE RICO ISSUES

                 The   RICO  conspiracy  offense  charged  in  this  case

            required the  government to prove an  agreement by appellants

            "to conduct  or participate  .  . .  in the  conduct of  [an]

            enterprise's  affairs  through  a  pattern   of  racketeering

            activity";  and the  pattern  alleged in  this case  required

            proof of  two or  more criminal acts  by an  appellant (e.g.,
                                                                    ____

            money laundering or structuring).  See 18  U.S.C.    1961(1),
                                               ___

            1962(c), (d).  Appellants  here challenge the indictment, the

            instructions and the evidence relating to RICO.

                                A. The RICO Indictment
                                A. The RICO Indictment
                                   ___________________

                 The RICO conspiracy count  alleged the formal requisites

            of the  offense including  the assertion that  each appellant

            agreed to commit  at least two racketeering acts;  but it did

            not specify which predicate  acts each appellant committed or

            agreed  to commit.  Hurley,  Cirella, Pizzo and Carlo DeMarco

            argue  that  this  lack  of  specificity  is   fatal  to  the

            indictment  because  a  sufficient  indictment  must  "fairly

            inform[ ]  a defendant  of the charge  against which  he must

            defend . . . ."   Hamling v. United States, 418 U.S. 87,  117
                              _______    _____________

            (1974).



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                 In count I,  the indictment  identified the  enterprise,

            its  precise method  of operation,  the  role played  by each

            appellant,  and the nature of the predicate acts charged.  In

            appended  lists  specifically  referenced  in  count  I,  the

            indictment  also  set  forth  thousands  of  individual  bank

            transactions and  wire transfers.   What was lacking  was any

            identification of  the particular  transactions in  which the

            four complaining appellants  were involved, since they  acted

            mainly  as counters  and subdividers  of money  deposited and

            transferred by others.

                 But  if  a defendant  were  charged  with conspiring  to

            distribute drugs, it would  surely be enough to show  that he

            had acted as a packer in the drug-making "factory" during the

            period in which  a series of identified  shipments were made.

            The government might  never know  which particular  shipments

            had been  packed  by  the defendant;  but  his  agreement  to

            participate  in distributing multiple  shipments could fairly

            be inferred.  The same principle applies in this case.  There

            is, we note,  no indication  that appellants  were misled  or

            left  in  ignorance about  what  the  government intended  to

            prove.

                 United States v. Winter, 663 F.2d 1120 (1st Cir.  1981),
                 _____________    ______

            cert. denied, 460 U.S. 1011  (1983), relied on by appellants,
            _____ ______

            is not in point.  In that case we held that the indictment of

            two defendants  failed because "a RICO  conspiracy count must



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            charge  as a minimum that each defendant agreed to commit two

            or more specified predicate crimes."  Id. at 1136.  In Winter
                                                  ___              ______

            the  indictment did not charge even in the most general terms

            that certain  defendants had  agreed to commit  two predicate

            acts.  Here,  the indictment did so charge, and Winter is not
                                                            ______

            in point.  









































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                  B. The RICO Instructions: "Conduct or Participate"
                  B. The RICO Instructions: "Conduct or Participate"
                     ______________________________________________

                 The gravamen of the underlying offense is "to conduct or

            participate, directly  or indirectly, in the  conduct of [an]

            enterprise's  affairs"  through  a  pattern  of  racketeering

            activity.  18 U.S.C.    1962(c).  In Reves v. Ernst  &amp; Young,
                                                 _____    ______________

            113  S. Ct. 1163, 1172 (1993),  the Supreme Court interpreted

            the words "conduct or participate" and held that they require

            the   defendant's  "participat[ion]   in  the   operation  or

            management of the enterprise itself."  Reves involved a civil
                                                   _____

            RICO suit against an  outside accounting firm hired  to audit

            the  books of  an allegedly  corrupt enterprise.   Construing

            Reves, we  held in United  States v. Oreto, 37  F.3d 739, 750
            _____              ______________    _____

            (1st Cir. 1994), cert.  denied, 115 S. Ct. 1161  (1995), that
                             _____  ______

            insider employees who are  "plainly integral to carrying out"

            the racketeering activities fit within section 1962(c).

                 Here,  appellants  claim   that  the  district   court's

            instruction on  the meaning  of "conduct or  participate" was

            erroneous in light of Reves.  No objection to the instruction
                                  _____

            was made at trial,  so we review only for "plain error," Fed.

            R.  Crim. P. 52(b), which requires appellants to show that an

            error was made, the error was clear or obvious, and the error

            resulted in prejudice--that  is, it affected the  defendant's

            substantial rights.  United States v. Olano, 113 S. Ct. 1770,
                                 _____________    _____

            1777-78  (1993).  Even then, an appeals court need not notice

            the  error unless  it caused  "a miscarriage  of  justice" or



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                                         -13-















            undermined "the fairness,  integrity or public reputation  of

            judicial proceedings."  Id. at 1778-79.
                                    ___

                 The instruction in this  case was similar to the  one we

            upheld  in Oreto.   37  F.3d at  750.   The difference--which
                       _____

            appellants  deem  crucial--is  that  the   Oreto  instruction
                                                       _____

            encompassed  defendants who  perform  acts  "necessary to  or

            helpful  in the  operation  of the  enterprise," whereas  the

            instruction in this  case encompassed defendants who  perform

            acts  "related   to   the  operation   of  the   enterprise."

            Appellants argue that the court's language embraced precisely

            the view that Reves rejected: "that almost any involvement in
                          _____

            the  affairs of  an  enterprise [satisfies]  the 'conduct  or

            participate' requirement."  Reves, 113 S. Ct. at 1169.
                                        _____

                 In the abstract, the  relatedness reference might pose a

            problem if a defendant were arguably an outsider, such as the

            independent  auditor  in   Reves.    But  in  this  case  the
                                       _____

            government's  version  of  the  evidence   placed  appellants

            squarely in the  role of  employees of the  enterprise.   The

            jury's verdict shows that  the jury accepted that  version of

            events,  making the  alleged  ambiguity  in the  instructions

            harmless.   To  the  extent that  appellants are  challenging

            Oreto's reading of Reves,  Oreto is the law of  this circuit.
            _____              _____   _____

            See United  States v. De Jongh, 937 F.2d 1, 6 (1st Cir. 1991)
            ___ ______________    ________

            (newly constituted  panels bound by prior  panel decisions in

            point).  



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                                         -15-
                                         -15-















                        C.  The RICO Instructions:  Knowledge
                        C.  The RICO Instructions:  Knowledge
                            _________________________________

                 Appellants  complain about two  aspects of  the district

            court's instructions on knowledge.  First, they challenge the

            use  of a  general  "willful blindness"  instruction and  the

            court's refusal  to instruct the jury  that willful blindness

            did not apply  to the RICO conspiracy  count.  They say  that

            one cannot simultaneously be  willfully blind to a conspiracy

            and also intend and agree to join the conspiracy.

                 The  district judge  first  instructed the  jury on  the

            substantive counts.  He  then gave a detailed  explanation of

            the RICO conspiracy count, including the requirement that the

            government  prove both "an intent to agree" and "an intent to

            commit the  substantive offenses that are the  objects of the

            conspiracy."  The  judge told  the jury that  they could  not

            infer knowledge of  the conspiracy from negligence,  mistake,

            or  ignorance; instead, the  defendant must  act "voluntarily

            and intentionally."   After lengthy instructions  on the RICO

            count, the judge moved on to more general propositions.  Only

            then did he give the "willful blindness" instruction:

                 In  deciding whether  a Defendant  acted knowingly,
                 you may infer that the Defendant had knowledge of a
                 fact if  you find  that the  Defendant deliberately
                 closed his  eyes  to a  fact that  would have  been
                 obvious to him.

                 The  willful blindness instruction  appears to have been

            aimed at  the "knowing" requirements  of substantive  counts.

            E.g.,  18 U.S.C.   1956  (money laundering).  Appellants have
            ____



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                                         -16-















            given  us  no reason  to think  that  it diluted  the express

            "intent"  requirement for  the  conspiracy count.   Here  the

            trial  judge  adequately  guarded  against  that  risk   with

            cautionary  instructions stressing  that the  defendants must

            have joined the conspiracy  intentionally, see United  States
                                                       ___ ______________

            v. Brandon, 17 F.3d 409, 451-54 (1st Cir.), cert. denied, 115
               _______                                  _____ ______

            S. Ct. 80 (1994), and  we see no way that the jury could have

            convicted without finding deliberate agreement.

                 Second,  appellants  object   to  the  district  court's

            refusal  of  their  request  for  an  instruction  that  each

            appellant  had to know of the existence and general nature of

            the enterprise.  When this request was made after the charge,

            it was  entangled with other requests and  the district court

            may not  have focused on the  request or may have  thought it

            had in substance been given.  Although nothing in the statute

            explicitly requires such knowledge, there is  some precedent,

            including  a  comment  from  this  court,  suggesting  it  is

            appropriate.  See, e.g., Brandon, 17 F.3d at 428; 2 L.  Sand,
                          ___  ____  _______

            J.  Siffert,  W. Loughlin  &amp;  S. Reiss,  Modern  Federal Jury
                                                     ____________________

            Instructions   52.04 at 52-39 &amp; comment (1995).
            ____________

                 We think that  in substance the jury  was told, although

            somewhat indirectly,  that appellants had to be  aware of the

            enterprise and  its general character  in order to  be guilty

            under the RICO conspiracy charge.  The court  instructed that

            the  first element  that  the jury  had to  find  was that  a



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                                         -17-















            conspiracy existed "to conduct  or participate in the affairs

            of an enterprise through a pattern of racketeering activity."

            The court subsequently told the jury that the government must

            also prove  "that the  defendant knew the  conspiracy existed

            and knew of its unlawful purpose."

                 Perhaps in theory one might imagine a defendant who knew

            of  and joined in a  conspiracy to conduct  an enterprise but

            did not know  the nature  of the enterprise.   In this  case,

            however,  the government's  evidence  showed that  appellants

            knowingly engaged  in structuring transactions  on an ongoing

            basis  within the  framework of Stephen  Saccoccia's business

            venture.  Given the  evidence accepted by the jury,  there is

            no doubt that appellants  knew what they were doing  and knew

            they  were doing  it within  the framework  of the  Saccoccia

            organization.  If  the instruction deviated from  perfection,

            the deviation was assuredly harmless.

              D.  The RICO Instructions: Single or Multiple Conspiracies
              D.  The RICO Instructions: Single or Multiple Conspiracies
                  ______________________________________________________

                 At trial,  the government  offered  evidence of  out-of-

            court statements by several  persons whom it characterized as

            unindicted  co-conspirators.   The  most  important were  two

            regional  managers  of  rival  drug  cartels  each  of  which

            supplied  money  to  be  laundered   by  Stephen  Saccoccia's

            organization.  The district  court admitted the hearsay under

            the  co-conspirator exception,  Fed.  R. Evid.  801(d)(2)(E),

            pursuant  to United States v.  Petrozziello, 548 F.2d 20 (1st
                         _____________     ____________



                                         -18-
                                         -18-















            Cir. 1977).  The court found that the regional managers were,

            more probably  than not, members of  the Saccoccia conspiracy

            and  rendered a  final Petrozziello  ruling at  the close  of
                                   ____________

            evidence.

                 Appellants  say first  that the  two drug  ring managers

            could not conceivably be members of the same  conspiracy with

            each other  because the  rings were  rivals.  The  government

            responds that the hearsay exception does not require that the

            conspiracy used to support  the hearsay evidence be the  same

            as that charged, see  United States v. Dworken, 855  F.2d 12,
                             ___  _____________    _______

            24 (1st Cir. 1988), and that at the very least that each drug

            dealer  necessarily  conspired  with   the  members  of   the

            Saccoccia organization.  Whether  the government's premise of

            separate  conspiracies  is sound  or  squares  with what  the

            district court found is not evident from its brief.  

                 Nevertheless,  appellants--who bear the burden on appeal

            of showing error in the Petrozziello finding--make no serious
                                    ____________

            effort to show that the two drug dealers could not have  been

            part of the same conspiracy; their  alleged rivalry is hardly

            conclusive  because   it  is  not  necessary   that  all  co-

            conspirators know of each other's existence, Brandon, 17 F.3d
                                                         _______

            at 428.  Whether a conspiracy's customers are also members of

            the conspiracy is a fact-based question, see United States v.
                                                     ___ _____________

            Moran,  984 F.2d 1299, 1303  (1st Cir. 1993),  and once again
            _____





                                         -19-
                                         -19-















            appellants  make  no effort  to muster  the evidence  on this

            issue, or even to argue it.

                 Alternatively, appellants argue that the court should at

            least  have  given  a  multiple  conspiracy  instruction,  an

            argument reinforced--although  perhaps only superficially--by

            the government's  defense of  the hearsay declarations.   The

            government  says that this issue  was not raised  in a timely

            fashion  and that there was  no factual basis  for a multiple

            conspiracy instruction.   In declining to give such a charge,

            the trial judge rested on both of these grounds and found, in

            addition,  that the proposed  multiple conspiracy instruction

            was itself deficient.

                 The district  court could  be  sustained on  any one  of

            these  three  grounds  but  we  think  that  untimeliness  is

            sufficient, United  States v. Akers,  987 F.2d 507,  513 (8th
                        ______________    _____

            Cir.  1993); Yoffe v. United  States, 153 F.2d  570, 576 (1st
                         _____    ______________

            Cir. 1946), and add  two further points.  First,  the request

            for such an instruction  was not made until after  government

            counsel  had   completed  his  closing  argument,  making  it

            impossible for  him  to  address  the  jury  on  this  point.

            Second, the core of  the government's case tended to  show an

            overarching conspiracy; and appellants make  little effort in

            their brief to show that multiple conspiracies were a serious

            possibility.

                           E.  Sufficiency of the Evidence
                           E.  Sufficiency of the Evidence
                               ___________________________



                                         -20-
                                         -20-















                 In  reviewing sufficiency  claims, we  normally consider

            the evidence "in the light most favorable to the prosecution"

            and then  ask whether  the evidence  "would allow  a rational

            jury  to  determine  beyond   a  reasonable  doubt  that  the

            defendants were  guilty as charged."   United States  v. Mena
                                                   _____________     ____

            Robles,  4 F.3d 1026, 1031 (1st Cir. 1993), cert. denied, 114
            ______                                      _____ ______

            S. Ct. 1550  (1994).   Although appellants deny  that any  of

            them  "directed"  the  enterprise,  we  rejected  this  legal

            premise in Oreto, holding  that an employee can "conduct"  or
                       _____

            "participate" in the conduct  of an enterprise by  playing an

            integral role  in its operation.  37 F.3d at 750.  By Oreto's
                                                                  _____

            test, a rational jury could convict each appellant.

                 Donna  Saccoccia relayed  her husband's  instructions to

            other appellants  on numerous occasions, helped  count money,

            and personally authorized the wire transfer of more  than $38

            million  from the  Trend  account to  foreign bank  accounts.

            Hurley  and Anthony  DeMarco received  and counted  the large

            cash  deliveries in New York and helped transport the cash to

            Rhode  Island.    James  and Kenneth  Saccoccio  and  Anthony

            DeMarco did most of the legwork involved in money laundering,

            exchanging millions  of dollars in cash  for cashier's checks

            at  various banks.  Carlo  DeMarco travelled to  New York and

            Connecticut to transport the  cash; Cirella and Stephen Pizzo

            received and counted money at the coin shop.





                                         -21-
                                         -21-















                 Four appellants  argue that apart from  their low levels

            of responsibility,  the  evidence was  insufficient  to  show

            knowledge on  their part that the  Saccoccia organization was

            engaged in money laundering or that the money being laundered

            was  derived  from  narcotics.   These  claims  are  made  by

            Cirella, Pizzo  and James and  Kenneth Saccoccio in  order to

            defeat the showing of predicate acts available to the jury to

            underpin  their RICO convictions.   Each of the  four says or

            implies that he was  unaware of money laundering but  working

            for what he understood to be a legitimate business.

                 The jury was entitled to find that these four appellants

            knew  that they  were engaged  in unlawful  money laundering.

            Stephen  Saccoccia discussed  with Cirella  and Pizzo,  among

            others, how to avoid police  detection; and Pizzo and Cirella

            discussed "washing .  . .  the money" and  means of  avoiding

            jail.  James and  Kenneth Saccoccio were involved in  so many

            deposits   and  manipulative   subdividings  of   funds  that

            laundering was  the only plausible explanation.   Further, in

            one  instance (July  10,  1990), discussing  the division  of

            $54,000  into  packages  of  $9,000 for  deposit,  James  and

            Kenneth   Saccoccio   conducted   the  following   (recorded)

            conversation with Izzi:

                      James:    54, I can't do  that.  He wants me  to do
                                $9,000 at every bank, that's stupid!
                                (voices fade out)

                      James:    KENNY, you want me to do 9 at every bank?



                                         -22-
                                         -22-















                      Kenneth:  (unintelligible) $54,000 that's the way I
                                been  doing  it.   Use  VOGUE,  do VOGUE,
                                (unintelligible).

                      Izzi:     Not all of  it, do a couple  of TRENDS if
                                you could.



                 As for the  drug-based origins of  the cash, the  direct

            evidence of  knowledge among  the underlings is  much thinner

            since none  of the  conspirators were directly  involved with

            the narcotics sales.  Kenneth Saccoccio is an exception since

            he was recorded,  while counting cash at  Trend, referring to

            it  as "drug  money";  and in  one  conversation with  Pizzo,

            Cirella  said something  that the  jury might  have  taken as

            referring to the  drug origins of the proceeds.   In the case

            of  James Saccoccio,  the  imputation of  knowledge of  drugs

            rests  on the vast sums involved in the laundering and James'

            close association with Kenneth.

                 There are plenty of cash-generating businesses but among

            those that require the illicit laundering of funds, the  drug

            business  is notorious  and preeminent.   In  this case,  the

            evidence showed  that narcotics were  the source of  the cash

            and  that this fact was  well known to  Stephen Saccoccia and

            Kenneth  Saccoccio, among others.   We think  that a rational

            jury  could  conclude  that James  too  knew  of  the money's

            origins, either from  the size and  continuing nature of  the

            deliveries, or  from  being told  that  the money  came  from

            drugs; and Cirella and Pizzo are a fortiori cases.    
                                             _ ________


                                         -23-
                                         -23-















                       III.  CURRENCY TRANSACTION REPORT ISSUES
                       III.  CURRENCY TRANSACTION REPORT ISSUES

                 The Bank  Secrecy Act requires domestic  banks to report

            any  transactions involving  more  than $10,000  in cash,  31

            U.S.C.    5313; 31 C.F.R.   103.   The statute also prohibits

            customers  from providing  false  information  for  a  bank's

            report.    31 U.S.C.    5324(2).1    Further, under  the 1986

            amendments, "[n]o person shall for the purpose of evading the

            reporting  requirements of [the Act or its regulations] . . .

            (3)  structure or assist in structuring . . . any transaction

            with one or  more domestic  financial institutions."   Id.   
                                                                   ___

            5324.  The most  common method of "structuring" is  to divide

            sums of cash into  amounts that are either under  the $10,000

            reporting threshold or into amounts that are larger but still

            less likely to attract attention.

                 Structuring is a criminal act, 31 U.S.C.    5322(a), and

            a violator is subject to double  the fine and sentence if  he

            or she structures while violating  another federal law or  as

            part  of a  pattern of  crime.   Id.    5322(b).   Appellants
                                             ___

            Hurley,  James   and  Kenneth  Saccoccio,  and  Cirella  were

            convicted  of  structuring under  31  U.S.C.     5324(3)  and




                                
            ____________________

                 1In late 1992,  Congress recodified sections 5324(1)-(3)
            as  sections 5324(a)(1)-(3) without  substantive change, Pub.
            L. 102-550,   525(a),  106 Stat. 3672, 4064 (Oct.  28, 1992).
            For simplicity,  we refer to the  earlier codification, under
            which   appellants  were   indicted  and   convicted,  unless
            otherwise noted.

                                         -24-
                                         -24-















            5322(b),  and  now  challenge  their convictions  on  several

            grounds.

                        A.  Due Process and Self-Incrimination
                        A.  Due Process and Self-Incrimination
                            __________________________________

                 Appellants  first contend that the reporting requirement

            violates  the Fifth  Amendment by  requiring them  to provide

            incriminating information to the government about themselves.

            The Supreme Court has  not directly decided this issue  as to

            bank customers,  see California Bankers Ass'n  v. Shultz, 416
                             ___ ___________________________________

            U.S. 21, 73 (1974),  but every circuit to consider  the claim

            has rejected it on one of several alternative grounds.  E.g.,
                                                                    ____

            United States v. Camarena, 973 F.2d 427, 428 (5th Cir. 1992);
            _____________    ________

            United States v. Mickens, 926 F.2d 1323, 1331 (2d Cir. 1991),
            _____________    _______

            cert. denied, 502 U.S. 1060 (1992); United States v. Hoyland,
            _____ ______                        _____________    _______

            914 F.2d 1125, 1130 (9th Cir. 1990).

                 In our  complex society, individuals are  called upon to

            provide information to the government on  countless occasions

            and under a great variety  of circumstances.  Where  Congress

            has framed  a disclosure  requirement  narrowly focused  upon

            criminal conduct,  the Supreme  Court has on  occasion struck

            down such statutes.   Haynes  v. United States,  390 U.S.  85
                                  ______     _____________

            (1968);  Marchetti  v. United  States,  390  U.S. 39  (1968);
                     _________     ______________

            Albertson v.  Subversive Activities Control Bd.,  382 U.S. 70
            _________     _________________________________

            (1965).   But where the  conduct is not  inherently criminal,

            the Court  has upheld the  statutes even where  the reporting

            could  in due course lead  the government to uncover criminal



                                         -25-
                                         -25-















            conduct.  California  v. Byers, 402  U.S. 424 (1971);  United
                      __________     _____                         ______

            States v. Sullivan, 274 U.S. 259 (1927).
            ______    ________

                 Byers, the most recent  of the cases on point,  upheld a
                 _____

            California hit  and run law that  required motorists involved

            in  an accident to halt and provide their names and addresses

            to authorities.   Needless to  say, a fair  portion of  those

            involved in  such accidents may be  identifying themselves in

            situations that could result in  criminal jeopardy.  But  the

            Court  found that  the  report  required  was  not  itself  a

            confession of criminal conduct, and that the law was directed

            to all auto  drivers in the state rather than  a more limited

            group "inherently  suspect of  criminal activities."   Byers,
                                                                   _____

            402 U.S. at 430 (quoting Albertson, 382 U.S. at 79).
                                     _________

                 Of  course, a  witness  may invoke  the Fifth  Amendment

            based on  fairly remote risks, see In  re Kave, 760 F.2d 343,
                                           ___ ___________

            354 (1st Cir.  1985), but reporting  statutes play a  central

            role in  the administration of government  (e.g., taxes), and
                                                        ____

            the jurisprudence that governs  them has followed a different

            course.   And although  the 1986 structuring  amendments were

            aimed  at money laundering, see Ratzlaf v. United States, 114
                                        ___ _______    _____________

            S. Ct.  655, 660-61 n.11  (1994), they reinforce  a reporting

            statute--the Bank Secrecy Act--that has larger aims including

            tax and regulatory concerns.   Many of the reports  are filed

            by legitimate cash-oriented businesses and the report  itself





                                         -26-
                                         -26-















            is not inherently more incriminating than the accident report

            upheld in Byers.
                      _____

                 Anthony DeMarco makes  a different constitutional attack

            on the statute.  He was convicted of five counts of willfully

            "caus[ing] or attempt[ing] to  cause" a bank to file  a false

            report.  31  U.S.C.    5324(2).   The bank  report, based  on

            information that  the teller secures from  the customer, asks

            "on  whose  behalf"  the  transaction   is  being  conducted.

            Anthony DeMarco told bank  tellers that the transactions were

            being conducted on  his own  behalf but  the evidence  showed

            that   they  were  being  conducted  for  Stephen  Saccoccia.

            Anthony DeMarco claims that the "on whose behalf" language is

            unconstitutionally vague.

                 Due  process  requires  that  criminal  statutes  define

            offenses with sufficient clarity  that an ordinary person can

            understand what  conduct is prohibited.   Kolender v. Lawson,
                                                      ________    ______

            461 U.S. 352, 357 (1983).  The  "on whose behalf" language is

            reasonably clear  and, on the present  facts, plainly pointed

            to Stephen Saccoccia.   The cases  DeMarco cites all  involve

            prior versions  of the  reporting form, which  used different

            language.  E.g., United States v. Murphy, 809 F.2d 1427, 1430
                       ____  _____________    ______

            (9th Cir.  1987) ("for whose account").   The current version

            of the form was promulgated to remedy this ambiguity.  United
                                                                   ______

            States v. Belcher, 927 F.2d 1182, 1186-88 (11th  Cir.), cert.
            ______    _______                                       _____

            denied, 502 U.S. 856 (1991).
            ______



                                         -27-
                                         -27-















                            B.  Instructions: Willfulness
                            B.  Instructions: Willfulness
                                _________________________

                 Appellants next  argue that the district  court erred in

            instructing  the  jury on  willfulness  as  an element  in  a

            structuring violation.  Last year, the Supreme Court rejected

            the  majority  view  of the  circuits  and  held  that for  a

            structuring conviction a defendant must know that what  he is

            doing  is  illegal.   Ratzlaf,  114  S.  Ct. at  658.2    The
                                  _______

            district court's instruction, given before  Ratzlaf, told the
                                                        _______

            jury that, in addition to knowledge, willfulness was required

            and continued:

                 An  act is done willfully if its done knowingly and
                 with an intent to do something the law forbids.  It
                 requires  something more  than  mere negligence  or
                 mistake.  It requires  proof that a Defendant acted
                 with   the  purpose   of   either   disobeying   or
                 disregarding the law.

                 No objection was made to this  instruction, so we review

            for plain error.  This case does not present the conundrum of

            a failure to object followed by a wholly unexpected change of

            law;  one month before the trial  in our case, this court had

            an en banc  argument to consider the  scienter requirement in
               _______

            the structuring  statute.  See  United States v.  Aversa, 984
                                       ___  ______ ______     ______

            F.2d 493  (1st Cir.  1993) (en banc)  (anticipating Ratzlaf's
                                        _______                 _______


                                
            ____________________

                 2Following  the Supreme  Court's decision in  Ratzlaf v.
                                                               _______
            United  States, Congress  deleted  the statutory  willfulness
            ______________
            requirement for structuring offenses.   31 U.S.C.    5322(a),
            (b),  5324(c); Pub. L. 103-325,    411, 108  Stat. 2160, 2253
            (Sept.  23, 1994); see H.R.  Conf. Rep. No.  652, 103d Cong.,
                               ___
            1st Sess. 147  (1994).   This recent change  does not  affect
            appellants' appeals. 

                                         -28-
                                         -28-















            result), vacated, 114 S. Ct. 873 (1994).  In United States v.
                     _______                             _____________

            Marder, we  recently applied  the plain error  standard to  a
            ______

            pre-Ratzlaf instruction, 48  F.3d 564, 572 &amp;  n.5 (1st Cir.),
                _______

            cert. denied, 115  S. Ct. 1441  (1995), as have  a number  of
            _____ ______

            circuits.   E.g., United States v. Retos, 25 F.3d 1220, 1228-
                        ____  _____________    _____

            32 (3d Cir. 1994).

                 It  is not certain that the district court erred at all.

            Aversa held  that "reckless  disregard" of the  law satisfied
            ______

            the willfulness requirement of  the structuring statute.  984

            F.2d at 502.  The Supreme Court in Ratzlaf referred to Aversa
                                               _______             ______

            as a  case requiring knowledge, 114 S. Ct. at 657 n.1; and it

            cited with approval,  id. at 659, another  First Circuit case
                                  ___

            in which  we agreed that a  jury could "infer  knowledge if a

            defendant  consciously avoided  learning about  the reporting

            requirements."   United States v. Bank  of New England, N.A.,
                             _____________    __________________________

            821  F.2d 844,  855 (1st  Cir.), cert.  denied, 484  U.S. 943
                                             _____  ______

            (1987).

                 Ratzlaf  did  not  formulate  any  precise  instruction.
                 _______

            Should the Supreme  Court address the  issue again, it  might

            insist on actual knowledge and nothing less.  But "disobey or

            disregard" is part of  a standard instruction on willfulness.

            See  1 L.  Sand, supra,    3A.01 at  3A-18.   See also United
            ___              _____                        ___ ____ ______

            States  v. Oreira, 29 F.3d 185, 188 (5th Cir. 1994) ("disobey
            ______     ______

            or disregard" accords with Ratzlaf).  Further we  are dealing
                                       _______

            at this point with nuances in  language, and state of mind is



                                         -29-
                                         -29-















            usually based  on inference  rather than on  direct evidence.

            The instruction in  this case,  if error at  all, is  neither

            plain nor the cause of a miscarriage of justice. 

                                     C.  Count 67
                                     C.  Count 67
                                         ________

                 Hurley and Cirella were  convicted of structuring  while

            violating  another federal  law or  as part  of a  pattern of

            illegal activity  involving more  than $100,000 within  a 12-

            month period.  31 U.S.C.    5322(b), 5324(3).  The indictment

            charged that they, together with James and Kenneth Saccoccio,

            structured a set  of six  bank deposits of  $8,000 to  $9,000

            each in several  different bank accounts on October  2, 1990.

            The indictment said:

                 [T]he    defendants    structured,   assisted    in
                 structuring and  attempted to structure  and assist
                 in  structuring  the  transaction  by   dividing  a
                 quantity of currency in  excess of $10,000 into two
                 or more portions  and using those smaller  portions
                 to purchase cashiers checks or other instruments in
                 amounts under  $10,000  at two  or  more  financial
                 institutions on the same day . . . .

                 The evidence at  trial showed that  on October 2,  1990,

            Izzi told Hurley and Cirella to give him $35,000 in $10 bills

            and later in the day to give Kenneth Saccoccio $30,000 in $20

            bills.   Bank records showed  that after the conversation and

            later  that   day   Kenneth   Saccoccio   made   two   $9,000

            transactions.  The jury convicted Hurley and Cirella on count

            67, and on appeal they raise a bevy of arguments.

                 The first argument is  based on the fact that  the trial

            judge,   without   objection,   instructed  the   jury   that


                                         -30-
                                         -30-















            structuring can occur either  by dividing a sum  over $10,000

            into deposits under  that figure or by dividing  the original

            sum  into  amounts  that  are over  $10,000  but  reduce  the

            reportable amount.   Appellants read the  indictment language

            as limiting  the offense  to the  "under $10,000"  theory and

            argue that  the "over $10,000"  theory permitted the  jury to

            convict on  a different theory of  the offense, impermissibly

            causing  a constructive  amendment of  the indictment.   See,
                                                                     ___

            e.g.,  United States v. Atisha,  804 F.2d 920,  927 (6th Cir.
            ____   _____________    ______

            1986), cert. denied, 479 U.S. 1067 (1987).
                   _____ ______

                 The  apparent strength of the argument is that the taped

            evidence showed  these two appellants being  told to assemble

            amounts  over  $10,000  and the  "over  $10,000"  instruction

            appears  to  dovetail with  this  evidence.   But  the  "over

            $10,000" instruction was a general one, describing one method

            of  structuring, and  had nothing  in particular  to  do with

            count 67.    Further, the  "over  $10,000" theory  fit  those

            instances  (involving DeMarco,  Kenneth and  James Saccoccio)

            where  a deposit occurred that was over $10,000 but less than

            the  original  sum.   On the  other  hand, the  only deposits

            alleged in relationship to count 67 were under $10,000. 

                 Thus, reading the instructions in  relation to evidence,

            we  think   that  the  jury   had  to  understand   that  the

            government's case  on count 67  amounted to this:  Hurley and

            Cirella, to facilitate specified unreported deposits of under



                                         -31-
                                         -31-















            $10,000 on October 2,  provided larger sums (as  directed) in

            aid of and with the expectation that they would be subdivided

            into  amounts  under  $10,000   to  avoid  reports  and  then

            deposited,  as in  fact they  were.   The practice  of giving

            general instructions in multiple count cases, and letting the

            jury sort  out their application  according to the  facts, is

            common and permissible.       Given  this  interpretation  of

            what  happened, we have  no reason to  consider whether there

            would  have  been  a  constructive amendment  rather  than  a

            variance if the jury  had been instructed to apply  the "over

            $10,000"  theory to  count 67.   See  generally 3  C. Wright,
                                             ______________

            Federal Practice and  Procedure    516, at 26  (2d ed.  1982)
            _______________________________

            (describing distinction  as "shadowy").  We  do consider, but

            reject, appellants' claim that the evidence was inadequate to

            connect their  delivery of $30,000 to  Kenneth Saccoccio with

            his  later deposits of amounts  under $10,000 that  day.  The

            timing made the connection a permissible inference.

                 In a  different attack,  appellants argue that  count 67

            was  facially defective  because  it alleged,  but failed  to

            specify, the  other federal law concurrently  violated or the

            pattern of illegal activity involving over $100,000 within 12

            months.   This additional allegation was not  needed to prove

            the violation but was needed  to trigger the enhanced penalty

            provided  by  section 5322(b).    Appellants  rely on  United
                                                                   ______

            States v.  Hajecate, 683  F.2d 894,  901-02 (5th Cir.  1982),
            ______     ________



                                         -32-
                                         -32-















            cert. denied, 461  U.S. 927 (1983),  where the Fifth  Circuit
            _____ ______

            overturned  a structuring conviction  because the structuring

            count did not specify the other illegal act or pattern.

                 Here, count 67 did incorporate by cross reference the 22

            introductory  paragraphs of  count  1  where  the  government

            described the  smurfing operation  in detail,  identified the

            role  of each appellant, and noted that large volumes of cash

            were  involved.   Hurley  and Cirella  had  to know  that the

            pattern of illegal activity alleged by the government was the

            vast smurfing enterprise of  which count 67 was but  a single

            example.   Cross  references are permissible  in indictments.

            United States v. Yefsky,  994 F.2d 885, 894 (1st  Cir. 1993).
            _____________    ______

            There is  no showing that either  appellant was prejudicially

            misled.

                                   D. Counts 54-68
                                   D. Counts 54-68
                                      ____________

                 Kenneth and James Saccoccio make a more promising attack

            on their  own  convictions for  structuring.   They say  that

            there is insufficient evidence  that they knew structuring to

            be  illegal,  as Ratzlaf  required, and  that they  were thus
                             _______

            entitled to judgments  of acquittal.  In Ratzlaf  itself, the
                                                     _______

            dissent contended  that the majority's  knowledge requirement

            would  frustrate  the   statute;  the   majority  said   that

            reasonable  inferences could  be drawn.   114  S. Ct.  at 663

            n.19, 669-70.  Our case presents just this issue.





                                         -33-
                                         -33-















                 There is  no direct evidence that  either appellant knew

            that structuring was a crime.  At the same time, the evidence

            permitted the jury to conclude that both knew that drug money

            was involved; that both knew that the break-downs of the cash

            were designed to  disguise proceeds; and that  both were paid

            in proportion  to  the  deposits  they made.    In  addition,

            Kenneth Saccoccio  made a recorded statement  indicating that

            he knew that his  own activity was criminal; and  given their

            common  role and  association a  jury could  reasonably infer

            that James had the same level of apprehension.3

                 We   think  that  the  thrust  of  Ratzlaf's  wilfulness
                                                    _______

            requirement is  met if  persons engaged in  depositing broken

            down amounts  are generally  conscious that  their laundering

            operation  is illegal, even if  they do not  know the precise

            requirements of the law.  This circuit in Aversa was the only
                                                      ______

            one  to anticipate Ratzlaf and  we are fully sympathetic with
                               _______

            its aims.   But those  aims were  to screen  out persons  who

            structured  transactions to  disguise  amounts in  situations

            where the actor might reasonably have no idea that the course

            of conduct was unlawful.  See Ratzlaf, 114  S. Ct. at 660-61;
                                      ___ _______

            Aversa, 984 F.2d at 499-500. 
            ______




                                
            ____________________

                 3After hearing  that  Hurley had  encountered  a  police
            roadblock,  Kenneth Saccoccio  said, "Imagine  if we  went by
            yesterday," referring to a day (July 2, 1990) on which he had
            engaged in various structuring transactions.

                                         -34-
                                         -34-















                 Here, there is ample evidence as  to Kenneth, and enough

            as to James, to persuade us that a reasonable jury could find

            that both knew that their own activities were unlawful.  This

            is not countered, as  their brief suggests, by the  fact that

            they generally gave their  names and identifying  information

            when  requested by  banks: couriers  in their  position could

            reasonably think  that an  individual deposit  standing alone

            would not appear irregular, while remaining aware that anyone

            with a full knowledge of their activities would condemn them.

                 Ratzlaf dealt  with an abstract jury  instruction in yes
                 _______

            or no terms; and in  its wake, courts and juries must  try to

            answer  more concrete questions of how much is enough.  Where

            a defendant's  structuring is genuinely innocent  of criminal

            intent, we think  that under Ratzlaf a  judgment of acquittal
                                         _______

            is proper  no  matter  how  unattractive the  context.    Cf.
                                                                      ___

            Aversa, 984 F.2d at 499-500.  But where the context is itself
            ______

            saturated with  consciousness of illegality, we  do not think

            that  Ratzlaf requires the jury to ignore it in assessing the
                  _______

            defendant's state of mind.

                           IV.  MISCELLANEOUS TRIAL ISSUES
                           IV.  MISCELLANEOUS TRIAL ISSUES

                      A.  Donna Saccoccia's Continuance Request
                      A.  Donna Saccoccia's Continuance Request
                          _____________________________________

                 After  contesting  extradition,   Donna  Saccoccia   was

            returned  by Switzerland  to the  United States,  arriving on

            July  15,  1992,  and  was  arraigned  on  that  date.    The

            government  turned over  the bulk  of its  discovery  in late



                                         -35-
                                         -35-















            July.     In  September,  her  counsel   requested  a  60-day

            continuance,  he was instead  granted 30 days,  and trial was

            set to begin on November 2.

                 Ten days before  trial Donna Saccoccia's  attorney asked

            for  another continuance, which was denied.  As a result, her

            team of lawyers had  just over 100 days after  arraignment to

            prepare  for  her  trial.   Pointing  to  the  length of  the

            government  investigation,  the  number  of charges  and  the

            quantity of  evidence (over  1600 hours of  surveillance tape

            and  10,000 pages  of  financial documents),  Donna Saccoccia

            claims  that  the  denial   of  the  second  continuance  was

            prejudicial error.

                 Although the government  asserts that Donna  Saccoccia's

            counsel  were   able  to   prepare  during   the  extradition

            proceedings, this is at  least open to dispute.   Still, many

            of the issues were common to  all of the defendants, so  that

            Donna Saccoccia benefited from the work of her co-defendants'

            counsel,  who  had  eight  months  to  prepare,  examine  the

            government's  tapes and  documents,  search  for  exculpatory

            evidence and  do  research.    Although  a  few  issues  were

            peculiar to Donna Saccoccia, the common issues bulked large.

                 Given the broad discretion  enjoyed by trial judges, see
                                                                      ___

            United States v. Lussier,  929 F.2d 25, 27 (1st  Cir. 1991)--
            _____________    _______

            especially  in  the  complex  task  of  organizing  a  multi-

            defendant  trial--we  have  no  hesitance  in  upholding  the



                                         -36-
                                         -36-















            district court's denial  of a second  continuance.  Her  lead

            counsel  appears  to have  performed  ably  and  there is  no

            indication  of prejudice.    The time  allowed was  generally

            adequate see United States v. Waldman, 579 F.2d 649 (1st Cir.
                     ___ _____________    _______

            1978),  and the  cases  overturning convictions  for lack  of

            preparation time  involve more  severe circumstances.   E.g.,
                                                                    ____

            United States v. Gallo,  763 F.2d 1504 (6th Cir.  1985) (RICO
            _____________    _____

            count added eleven days before trial), cert. denied, 475 U.S.
                                                   _____ ______

            1017 (1986).



































                                         -37-
                                         -37-















                        B.  Carlo DeMarco's Severance Request
                        B.  Carlo DeMarco's Severance Request
                            _________________________________

                 Carlo DeMarco, an employee of Stephen Saccoccia for only

            about three months, was convicted  of RICO conspiracy but not

            charged  with any  substantive offense.   Midway  through the

            trial he moved  for a  severance on the  ground that  Anthony

            DeMarco, his  brother and co-defendant, would  testify on his

            behalf in a separate  trial.  Carlo offered the  affidavit of

            his counsel that Anthony would testify (along with a few less

            important facts)  that Carlo  "was not  to  be told  anything

            except that he was  working for a gold dealer."  The district

            court held that the motion was untimely and without merit.

                 In  United States v. Drougas,  748 F.2d 8,  19 (1st Cir.
                     _____________    _______

            1984), we held that to  show an abuse of discretion  in these

            circumstances,  a  defendant  must show  that  the  proffered

            testimony is genuinely  necessary, exculpatory,  and will  in

            fact be forthcoming  in a severed trial.  It is doubtful that

            the affidavit  from counsel satisfied this  requirement.  See
                                                                      ___

            United States  v. Perkins, 926  F.2d 1271, 1280-81  (1st Cir.
            _____________     _______

            1991).   In all events,  Fed. R. Crim.  P. 12(b)(5) specifies

            that  motions to  sever must  be  made where  feasible before

            trial.   Defense counsel's claim  that he had  not previously

            had  a  chance  to  consult adequately  with  his  co-defense

            counsel is manifestly lame.







                                         -38-
                                         -38-















                     C.  Minimization of Electronic Surveillance
                     C.  Minimization of Electronic Surveillance
                         _______________________________________

                 Cirella, Hurley  and Anthony  DeMarco moved at  trial to

            suppress the  government's recordings made  by telephone taps

            and listening devices installed  in Trend and Saccoccia Coin.

            They charged the government failed to comply with 18 U.S.C.  

            2518(5), which requires that  surveillance shall be conducted

            "in  such  a   way  as  to   minimize  the  interception   of

            communications  not otherwise  subject to  interception under

            this chapter . . . ."  We uphold the trial judge's  denial of

            the  suppression  motion  without  reaching  the  question of

            whether the remedy for a violation would be suppression.  See
                                                                      ___

            Scott  v. United  States, 436  U.S. 128,  135-36 n.10  (1978)
            _____     ______________

            (raising but not deciding the issue).

                 Scott  made  clear  that  the statute  does  not  forbid
                 _____

            interception  of non-pertinent  conversations but  requires a

            reasonable effort  to minimize such interceptions.   436 U.S.

            at  137-40.    Here,  the government  described  the  agents'

            directives  to turn  off monitoring equipment  for irrelevant

            conversations;  it supplied  statistics  showing  that  about

            three-quarters of  the time  that the agents  turned off  the

            monitoring device,  they did so because  the conversation was

            deemed non-pertinent; and it  pointed to regular reports made

            to the  district court, and  to ongoing contacts  between the

            agents and  the prosecutors sometimes  involving guidance  on





                                         -39-
                                         -39-















            monitoring.   See United States v. Angiulo, 847 F.2d 956, 979
                          ___ _____________    _______

            (1st Cir.), cert. denied, 488 U.S. 928 (1988).
                        ____________

                 The   Saccoccia   enterprise   was  a   widespread   and

            complicated  operation  in  which  the  illegal  conduct  was

            deliberately   disguised   by   the    company's   legitimate

            activities.   The  conspirators  employed  code phrases  that

            mimicked industry  terminology and  used code names  for each

            other, banks  and  clients.   Many of  the participants  were

            related by  blood  or marriage,  and incriminating  exchanges

            were often  interspersed with  personal conversation.   It is

            hard to see how the  agents could have done more than  make a

            good-faith determination to turn off recording devices when a

            conversation   was  seemingly  unrelated  to  the  laundering

            operation.

                 Here,  as in United States  v. Uribe, 890  F.2d 554, 558
                              _____________     _____

            (1st Cir.  1989),  "[d]efendants [have]  offered no  evidence

            tending to show, or  even to suggest, a pattern  of listening

            to  calls  after  it   became  clear  that  the  calls   were

            innocuous."    A so-called  survey  conducted by  the  son of

            Hurley's lawyer  purported to show that  a substantial number

            of non-pertinent conversations were  recorded; but the survey

            was  flawed by  his  subjective criteria  of pertinence  (for

            example,  the son classified  conversation regarding  gold as

            non-pertinent even  though the Saccoccia  employees regularly

            employed  gold  industry  words  as code  phrases  for  money



                                         -40-
                                         -40-















            laundering   transactions).    The  district  court  properly

            disregarded the study.

                                    D.  Count 143
                                        _________

                 Count 143 charged Hurley with a Travel Act violation for

            transporting $248,000  on a specified  date from New  York to

            Rhode Island, to promote specified unlawful activity, namely,

            structuring  and money  laundering.   Hurley admits  that the

            indictment  charged  the  first   two  requisites--interstate

            travel and intent to promote an unlawful activity.  18 U.S.C.

              1952.   But, he says,  there is no allegation  that (in the

            statutory phrase) he  "thereafter" performed or  attempted an

            act to further the unlawful activity.  Id.
                                                   ___

                 This  is a legitimate argument.   But we  think that the

            quoted statutory phrase must be read in light of its apparent

            purpose: to screen out interstate travel by a  racketeer who,

            however  malign  his  purpose,  ultimately  does  nothing  to

            advance the illegal activity.  Here, Hurley's  transportation

            of the money from New York to Rhode Island was a central part

            of the ongoing laundering operation.  The particular trip was

            not only interstate travel but also comprised--"thereafter"--

            the delivery of  funds for laundering.   Accord United States
                ________                             ______ _____________

            v.  Brown, 770  F.2d  768,  772  (9th Cir.)  (importation  of
                _____

            heroin), cert. denied, 474 U.S. 1036 (1985).
                     _____ ______

                 Given our reading of the "thereafter" language, there is

            thus  no  need   to  consider  whether  (as  claimed  by  the



                                         -41-
                                         -41-















            government) the general  descriptions of Hurley's  activities

            (incorporated in  count 143  by reference to  count 1)  could

            independently  supply a  subsequent act.   We  also think  it

            unnecessary  to discuss  Hurley's argument that  the evidence

            was  insufficient  to  show   that  he  participated  in  the

            particular  trip   which  unquestionably  occurred.     While

            Hurley's  involvement depended  on inferences  from different

            pieces of  evidence,  the jury  was  entitled to  draw  those

            inferences.

                       E.  Donna Saccoccia's Mental Competence
                       E.  Donna Saccoccia's Mental Competence
                           ___________________________________

                 At Donna Saccoccia's rearraignment on July 23, 1992, her

            trial counsel made  and then abandoned a  suggestion that she

            be examined professionally in  relation to her current mental

            condition.  The  trial proceeded with no  further request for

            such an examination  or suggestion  of incompetency,  until--

            about six  months  after the  trial--the  presentence  report

            alluded  to  a  possible  sentence  reduction  for diminished

            mental  capacity.    The  defense then  retained  a  clinical

            psychologist who  examined Donna Saccoccia and concluded that

            she  was mentally  incompetent  and had  been throughout  the

            trial.  

                 Two days before sentencing, trial counsel filed a motion

            seeking a  competency hearing, which is  required where there

            is  "reasonable  cause"  to   believe  that  a  defendant  is

            "mentally  incompetent to  the extent  that he  is  unable to



                                         -42-
                                         -42-















            understand  the  nature and  consequences of  the proceedings

            against him or to assist properly in his defense."  18 U.S.C.

               4241(a).    In   a  two-day  preliminary  proceeding,  the

            psychologist testified  that  Donna  Saccoccia  was  able  to

            understand the proceedings  but opined that she  did not have

            the ability to assist  counsel because of depression, anxiety

            and passivity.   The district court  found that a  full-scale

            competency hearing  was not required and  Donna Saccoccia now

            appeals that decision.  

                 This is a close issue.  The fact that a reputable expert

            gives  his opinion does not resolve the matter, even if there

            is  no countervailing expert evidence on the other side.  See
                                                                      ___

            Figueroa-Vazquez  v. United  States, 718  F.2d 511,  512 (1st
            ________________     ______________

            Cir.  1983).   But here  the expert  appears to  have made  a

            substantial  examination and  his concerns--although  not his

            specific  conclusions--have  a  degree  of  support in  trial

            counsel's  comment  at  the  arraignment  and  the   concerns

            expressed in  the presentence  report.  For  obvious reasons,

            competency  claims  are  not   subject  to  ordinary   waiver

            doctrine.  Pate v. Robinson, 383 U.S. 375, 384 (1966).
                       ____    ________

                 On the other  hand, the focus of  the incompetency claim

            in this  case is upon Donna Saccoccia's  ability or inability

            to assist in her defense.  The trial judge had some basis for

            doubting whether  the psychologist understood  the issues  in

            the  case  well  enough to  make  a  judgment,  but far  more



                                         -43-
                                         -43-















            important is the  silence of  defense counsel  on this  point

            during  the trial.  An  experienced trial lawyer  ought to be

            the  first  to notice  a lack  of  cooperation or  ability to

            assist so severe as to raise competency questions.  There was

            no complaint  from trial counsel  until after trial  when the

            presentence  report  reawakened  counsel's  interest  in  the

            matter.

                 Neither  at  the preliminary  competency hearing  nor on

            appeal  has counsel  been  able  to  point  to  any  specific

            problems  with Donna  Saccoccia's  assistance  during  trial.

            This  is not  a conclusive  objection  since (in  theory) the

            impairment  might  prevent  counsel  from  ever  learning  of

            information  helpful  to  the defense;  but  the  generalized

            character  of the  claim  weakens its  force.   The  district

            judge,  who  presided  over  the trial  and  the  preliminary

            hearing,  is entitled to some  latitude in making judgment on

            the need for a full-scale competency hearing.   United States
                                                            _____________

            v. Garrett, 903 F.2d 1105, 1116 (7th Cir.), cert. denied, 498
               _______                                  _____ ______

            U.S.  905  (1990).   Having reviewed  the transcript  of that

            hearing, we sustain the district court's ruling.

                                V.  SENTENCING ISSUES
                                V.  SENTENCING ISSUES

                               A.  Ex Post Facto Claim
                               A.  Ex Post Facto Claim
                                   ___________________

                 Under the RICO sentencing guidelines, the district judge

            properly   employed  the   money   laundering  guideline   in

            sentencing appellants on the RICO conspiracy count.  U.S.S.G.



                                         -44-
                                         -44-















              2E1.1.   The money  laundering guideline in  effect at  the

            time of sentencing increased a defendant's base offense level

            for money laundering  by three levels if  the defendant "knew

            or  believed" that  the laundered money  was the  proceeds of

            narcotics sales.   Id.   2S1.1(b)(1).   That provision became
                               ___

            effective  on  November  1, 1991;  previously,  the  increase

            applied only if the defendant "knew" that the money came from

            narcotics.  

                 In  a claim  not  raised at  sentencing, appellants  now

            argue that the district  court erred by applying the  new and

            broader guideline,  because (they say) the  last actual money

            laundering  offense occurred  in  April 1991  before the  new

            guideline  took effect.   See United  States v.  Cousens, 942
                                      ___ ______________     _______

            F.2d 800, 801 n.1  (1st Cir. 1991).  The  government responds

            that  the RICO  conspiracy  itself continued  at least  until

            November 1991, asserting that no ex post facto problem exists
                                             __ ____ _____

            where the crime continues  after the effective date of  a new

            guideline sentence.  E.g.,  United States v. David, 940  F.2d
                                 ____   _____________    _____

            722,  739  (1st Cir.),  cert.  denied, 502  U.S.  989 (1991).
                                    _____  ______

            David can arguably  be distinguished, but the issue  need not
            _____

            be decided here.  

                 The  new guideline  language was  intended to  apply the

            enhancement to  cases in which  a defendant "knew"  that drug

            trafficking was involved, but the knowledge turned out  to be

            mistaken because (for example) the operation was a government



                                         -45-
                                         -45-















            sting and no real narcotics were involved.  See U.S.S.G. app.
                                                        ___

            C, amend.  378 (1994).    Here, the  money  was in  fact  the

            proceeds  of narcotics  trafficking  so belief  and knowledge

            were the same  thing.   A defendant who  merely believed  the

            drug proceeds were involved would (because of the correctness

            of that belief) also know that drug proceeds were involved.  

                 Appellants    contend    that    the   district    court

            misinterpreted  the phrase  "knew  or believed"  to allow  an

            increase based on a  showing that appellants merely suspected

            or should have known  that drug money was involved.   We have

            examined  the transcript  of the  sentencing and  reject this

            conjecture.   In some cases,  an appellant was  shown to have

            direct knowledge, and in  others, knowledge was inferred from

            circumstances; but in each  case a fair reading of  the trial

            court's  remarks  show that  the  judge  determined that  the

            appellant knew the source of the laundered funds.  

                 Pizzo and James Saccoccio assert that even  if the court

            did  not  misunderstand   the  standard,  the   evidence  was

            inadequate to show  that they knew  that the laundered  money

            was  the proceeds of narcotic sales.  As explained earlier in

            the opinion, the evidence on this point was sufficient.  Even

            apart  from Pizzo's  disputed  reference to  "the coke,"  the

            volume of funds, the duration, the geographic source, the use

            of  small  bills and  other  circumstances  made it  entirely





                                         -46-
                                         -46-















            reasonable  to  infer   that  direct   participants  in   the

            enterprise knew that the funds were derived from drugs.  

                             B.  Other Sentencing Errors
                             B.  Other Sentencing Errors
                                 _______________________

                 The offense level for money laundering offenses is keyed

            to the value of the laundered funds.  U.S.S.G.   2S1.1(b)(2).

            Appellants contend  that in  various respects  the sentencing

            court  erred in  determining the  value of  the funds  and in

            determining the varying amounts that it found each individual

            appellant    reasonably   had    foreseen.       U.S.S.G.    

            1B1.3(a)(1)(B).  These are largely factual issues, reviewable

            only for clear error.  United States v. LaCroix, 28 F.3d 223,
                                   _____________    _______

            231  (1st Cir. 1994).  We  have examined each of these claims

            of  error and  think that the  district court's  findings are

            supportable,  and  that  none   involves  any  issue  of  law

            requiring discussion.

                 Something  closer to an issue of law is presented by the

            district   court's  determination  that   Carlo  DeMarco  was

            entitled  to a  two-level  reduction as  a minor  participant

            rather  than   to  the  four-level  decrease   as  a  minimal

            participant.  See U.S.S.G.   3B1.2.  The issue arises because
                          ___

            DeMarco  participated  for only  a  few  months in  the  RICO

            conspiracy and was held responsible for only $3.9 million  of

            the  $136 million conspiracy.  But  as to that segment of the

            conspiracy,  the  court found  that  the  range of  DeMarco's





                                         -47-
                                         -47-















            activities   made  him   a  minor   rather  than   a  minimal

            participant.

                 On appeal  DeMarco argues that  he was entitled  to have

            his role determined in  light of the entire conspiracy.   The

            government  argues  that his  role  should  be measured  only

            against the  foreseeable conduct for  which he has  been held

            responsible.   No  case law  discussing this  issue  has been

            cited.  But we think that common sense permitted the district

            judge  to  determine  that  DeMarco--who  participated  quite

            actively in several roles  over a significant period  and was

            involved with a substantial  amount of laundered funds--was a

            minor and not a minimal participant.

                                VI.  FORFEITURE ISSUES
                                VI.  FORFEITURE ISSUES

                 Between January  1990 and April 1991,  Stephen and Donna

            Saccoccia  wired  $136,344,231.86  to foreign  bank  accounts

            apparently controlled  by Colombian  drug suppliers.   In the

            indictment,  the  government  took  the  position  that  each

            appellant was  jointly and  severally liable for  this amount

            under one of RICO's  several forfeiture provisions, 18 U.S.C.

              1963(a)(3).    This  subsection  requires  a  defendant  to

            forfeit  "any property  constituting,  or  derived from,  any

            proceeds which the  person obtained, directly or  indirectly,

            from racketeering activity . . . ."  Id.  By special verdict,
                                                 ___

            the  jury imposed such a forfeiture in this amount on Hurley,





                                         -48-
                                         -48-















            the other appellants having waived a jury trial on forfeiture

            issues.4  

                 The district  court imposed separate  forfeitures on the

            other appellants.   United States v.  Saccoccia, 823 F.  Supp
                                _____________     _________

            994  (D.R.I.  1993).   The  court  held that  proceeds  under

            section 1963(a)(3)  included laundered  funds obtained  by an

            appellant even  though later passed along  to the Colombians,

            and that each appellant was responsible for funds foreseeably

            obtained  by other  co-conspirators.   The  court found  that

            Hurley, Stephen and Donna Saccoccia, and Anthony DeMarco were

            aware of most or all aspects of the conspiracy and liable for

            the  full amount;  that the  Saccoccio brothers,  Cirella and

            Pizzo  were aware  mainly of the  Rhode Island  operation and

            therefore  liable  only  for  the   $37,456,100.79  laundered

            through  Trend and  Saccoccia Coin;  and that  Carlo DeMarco,

            active  only   from   August  through   November  1991,   was

            responsible  for  $3,927,357.55  that  he  had  deposited  or

            otherwise known about.

                 After appellants filed notices of appeal, the government

            filed a  motion seeking  forfeiture of substitute  assets, 18

            U.S.C.    982(b), 1963(m); following various proceedings, the

                                
            ____________________

                 4The jury  also imposed a separate  forfeiture on Hurley
            of $52,800  under the money laundering provision, 18 U.S.C.  
            982, in connection with a  reporting violation.  Neither this
            nor  other section  982  forfeitures imposed  on three  other
            appellants  by the  district  judge have  been challenged  on
            appeal except  on grounds identical to  those discussed below
            in connection with the RICO forfeitures.

                                         -49-
                                         -49-















            district court ultimately  determined that  because the  $136

            million had  been transferred  out of the  jurisdiction, each

            appellant  was liable to pay  the amounts in  question out of

            any  other assets  of  that  appellant.   Both  the  original

            forfeiture orders  and their  extension to substitute  assets

            are the subject of a number of attacks in this case.

                            A.  "Proceeds . . . Obtained"
                            A.  "Proceeds . . . Obtained"

                 The opening  question is whether the  $136 million wired

            to the  Colombians constituted, at least as to the appellants

            who handled or controlled these funds before they were wired,

            "any property  constituting, or  derived  from, any  proceeds

            which  the person  obtained,  directly  or  indirectly,  from

            racketeering activity .  . . in  violation of section  1962."

            18  U.S.C.    1963(a)(3).   Appellants argue  that "proceeds"

            means net  profits, see United  States v.  Masters, 924  F.2d
                                ___ ______________     _______

            1362, 1369-70 (7th Cir.) (semble), cert. denied, 500 U.S. 919
                                               _____ ______

            (1991), in which case $136 million vastly overstates the 5 to

            15 percent commission  apparently retained by  the Saccoccias

            and the  (presumably smaller)  amounts passed along  to other

            appellants.   Alternatively, appellants contend that  none of

            the $137  million could fairly  be regarded as  "obtained" by

            them  since  it   represents  amounts   transmitted  by   the

            Saccoccias to the drug owners themselves.

                 Section 1963(a)(3)  was added by Congress  to other RICO

            forfeiture  provisions in  1984, and its  legislative history



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            explains without qualification that "the  term `proceeds' has

            been used in lieu of the term `profits' in order to alleviate

            the  unreasonable burden  on  the government  of proving  net

            profits."  S. Rep. No. 225, 98th Cong., 2d Sess.  199 (1984).

            In Russello v. United States, 464 U.S. 16 (1983), the Supreme
               ________    _____________

            Court made clear its desire for generous construction  of the

            RICO forfeiture  provisions, in  line with  Congress' unusual

            command that  RICO (although  a criminal statute)  be broadly

            interpreted.  See id.  at 27.  Given the  legislative history
                          ___ ___

            and Russello,  the broader definition of  "proceeds" seems to
                ________

            us a rather easy call.

                 The  point  is  borne  out  by  imagining  that  Stephen

            Saccoccia  had been caught with  the $136 million  in cash or

            gold just before delivering  it to the Colombians.   The cash

            or gold  could surely  be described as  property representing

            "proceeds"   which  Stephen  Saccoccia  had  "obtained"  from

            racketeering activity  in violation of  section 1962, namely,

            through  money laundering.  As  a matter of  policy, there is

            every  reason why  the booty  in that  situation ought  to be

            forfeit, and that Congress  would desire such a result.   See
                                                                      ___

            United States v. Lizza Indus., Inc., 775 F.2d 492, 497-99 (2d
            _____________    __________________

            Cir. 1985), cert. denied, 475 U.S. 1082 (1986).
                        _____ ______

                 The  more difficult question  is whether property should

            be  regarded as "obtained" by the money launderer when it has

            merely been held in  custody by that individual and  has been



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                                         -51-















            passed along to its true owner.  To read  "obtained" to cover

            property  once held by a  defendant on behalf  of another has

            the   effect--when  combined   with  the   substitute  assets

            provision--of converting  the forfeiture into a  fine.  Thus,

            at  first, the  temptation  is to  read  the word  "obtained"

            narrowly, having  in mind the  low level  courier who  merely

            transports the money and could face death if any of the funds

            were diverted.

                 Yet,  on  reflection,  it is  only  in  degree  that the

            courier who gets a very small cut differs from intermediaries

            who get  a larger one, and  from the leader of  the drug ring

            who is effectively paying much of the money back to suppliers

            and  servitors  of  various   kinds.    Looking  at  criminal

            forfeiture under RICO  as a kind of shadow fine,  the size of

            the amount transported is some measure of the  potential harm

            from  the  transaction.    And  since  temporary  custody  is

            certainly  enough for a possession charge in a drug case, see
                                                                      ___

            United States v. Zavala Maldanado, 23 F.3d 4, 6-8 (1st Cir.),
            _____________    ________________

            cert. denied,  115 S. Ct. 451  (1994), it is hard  to see why
            _____ ______

            "obtained" should be read more narrowly.

                 Finally, it is  very hard to escape  the implications of

            18 U.S.C.   982(b)(2).  There, Congress has expressly  carved

            out a narrow safe harbor, which protects against forfeiture a

            defendant who  "acted merely  as an intermediary  who handled

            but  did  not  retain  the  property"  unless  the  defendant



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                                         -52-















            conducted  three  or more  separate transactions  involving a

            total of $100,000  or more  in a twelve-month  period.   This

            provision  indicates  that  Congress  itself  thought  that a

            separate statute  was necessary  for a "passing  on" defense.

            There is no counterpart safe harbor provision in RICO nor, in

            view of the amounts involved, could such a provision help any

            appellants in this case.

                               B.  Vicarious Liability
                               B.  Vicarious Liability
                                   ___________________

                 The question remains whether a defendant's forfeiture is

            limited  to the  laundered funds  that the  defendant himself

            obtained or  whether it  extends to funds  obtained by  other

            members  of the  conspiracy.   The  district  court took  the

            latter position with one  important qualification:  laundered

            funds obtained  by other members  of the conspiracy  would be

            attributed  only  to the  extent  that  they were  reasonably

            foreseeable to  the particular defendant.   Saccoccia, 823 F.
                                                        _________

            Supp. at 1004.  This is a sensible resolution of a very close

            issue, and we follow the district court's lead.  

                 The arguments  for limiting  forfeiture solely to  funds

            personally obtained  by an individual defendant  are several.

            The  statutory  language  speaks  of  a  violator  forfeiting

            "proceeds  which  the person  obtained" by  violating section
                              ___ ______

            1962.  18 U.S.C.   1963(a)(3) (emphasis added).  In addition,

            the  plight  of  a  defendant  who  was  merely  a  temporary

            custodian of cash and passed it  on is even starker than that



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                                         -53-















            of a person who never possessed the cash at all.  Thus, there

            is a  respectable basis for holding  that vicarious liability

            for  co-conspirator behavior  does  not exist  under  section

            1963.  

                 The  arguments  pointing  the   other  way  seem  to  us

            stronger.     Under  established  case  law,   members  of  a

            conspiracy  are  substantively  liable  for  the  foreseeable

            criminal  conduct of  the  other members  of the  conspiracy.

            Pinkerton v. United States,  328 U.S. 640 (1946).   Using the
            _________    _____________

            same  concept,  the  Sentencing  Guidelines  attribute  to  a

            defendant  at  sentencing  the  foreseeable  conduct  of  co-

            conspirators.  U.S.S.G.    1B1.3(a)(1)(B).  It  would be odd,

            although  not impossible,  to depart  from this  principle of

            attributed  conduct when  it  comes to  apply the  forfeiture

            rules, which  have aspects both of  substantive liability and

            of penalty.  

                 It  is  largely  fortuitous  whether  an  individual co-

            conspirator  happened to  possess  the laundered  funds at  a

            particular point.   If conclusive  weight were  given to  who

            physically handled  the money,  a low-level courier  or money

            counter could  be liable  for vast  sums, while  other higher

            level conspirators could  easily escape  responsibility.   So

            long  as the amount handled by  others is foreseeable as to a

            defendant,  the  foreseeable  amount represents  the  sounder

            measure of liability.



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                                         -54-















                 Finally,  we have to give  some weight to  the fact that

            each  court  of appeals  that  has  addressed  the topic  has

            concluded that  the forfeiture provisions  involve joint  and

            several  liability.   E.g.,  Masters,  924  F.2d at  1369-70;
                                  ____   _______

            Fleischhauer v. Feltner, 879 F.2d 1290, 1301 (6th Cir. 1989),
            ____________    _______

            cert.  denied,  493  U.S.   1074  (1990);  United  States  v.
            _____  ______                              ______________

            Benevento, 836 F.2d 129, 130 (2d Cir. 1988); United States v.
            _________                                    _____________

            Caporale,  806 F.2d  1487,  1506-09 (11th  Cir. 1986),  cert.
            ________                                                _____

            denied, 482 U.S. 917 (1987).  This is a somewhat backward way
            ______

            of  putting the  matter,  since "joint  and several"  roughly

            describes the result without explaining the underlying theory

            of liability.  Here, we think the theory is the familiar rule

            that  a  member  of  a  conspiracy  is  responsible  for  the

            foreseeable acts of other members  of the conspiracy taken in

            furtherance  of the conspiracy.  Pinkerton,  328 U.S. at 646-
                                             _________

            47; U.S.S.G.   1B1.3(a)(1)(B).

                 Appellants   appear  to   think  that   their  vicarious

            liability for  amounts they did not physically touch rests on

            the assumption  that the Colombian drug  lords who ultimately

            "obtained" $136 million were  members of the same conspiracy.

            On this premise, appellants advance  a number of arguments as

            to  why  such  a conspiracy  cannot  be  made  out under  the

            indictment or evidence  in this  case.  The  short answer  is

            that  the  premise  is  mistaken;  individual  appellants are

            liable  because  their  convicted   American  co-conspirators



                                         -55-
                                         -55-















            obtained the funds, regardless of the  status assigned to the

            Colombians.

                 Nor  do  we  see  any  basis  for  the  claim  that  the

            forfeiture violates  the  "excessive  fines"  clause  of  the

            Eighth Amendment.   Although  the provision is  applicable to

            forfeitures, see Alexander v. United States, 113 S.  Ct. 2766
                         ___ _________    _____________

            (1993), holding  a defendant  liable for  an amount of  money

            foreseeably laundered by himself and  his own co-conspirators

            is  quite  rational  based  on  a  proportionality  analysis.

            Harmelin v. Michigan, 501 U.S. 957 (1991).  In this case none
            ________    ________

            of the appellants was  separately fined, so we can  leave for

            another day forfeitures imposed on top of separate fines.

                 We appreciate the fact that a formidable penalty can  be

            inflicted  when  one  disallows  a  passing-on  defense  then

            imposes vicarious  liability for the foreseeable  acts of co-

            conspirators.   The government  can collect its  $136 million

            only once but, subject  to that cap, it can collect  from any

            appellant so much of  that amount as was foreseeable  to that

            appellant.  But there  is no reason to think that this result

            is  unattractive   to  Congress,  which  requested   a  broad

            construction of RICO, or to the Supreme Court, which followed

            this policy in Russello.
                           ________

                                C.  Substituted Assets
                                C.  Substituted Assets
                                    __________________

                 The indictment  in this case  sought forfeitures against

            each  of the  appellants  of approximately  $140 million  and



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                                         -56-















            expressly  invoked  18 U.S.C.     1963(m).   Section  1963(m)

            provides  that if property subject to forfeit cannot be found

            or  has been  transferred  then "the  court  shall order  the

            forfeiture of any other  property of the defendant up  to the

            value  of"  the property  subject to  forfeit.   See  also 18
                                                             _________

            U.S.C.     982(b)  (similar  provision  in  money  laundering

            statute incorporated from 21 U.S.C.   853(p)).  In this case,

            the  original  jury  verdicts  contain   a  determination  of

            forfeiture only as to Hurley; forfeiture findings against the

            other appellants were made  thereafter by the district court,

            as earlier described.  

                 Appellants   filed   notices   of  appeal   from   their

            convictions in  May and  June 1993.   On July  16, 1993,  the

            government  moved   in  the  district  court   to  amend  the

            forfeiture provisions of  its judgments  to substitute  other

            property of the  appellants for the $137 million in laundered

            funds.  After a hearing, the court granted these motions.  On

            appeal, appellants  argue  that  the  district  court  lacked

            jurisdiction  to  enter  those  orders  because  appeals  had

            already been taken.

                 This  claim rests on the "general rule" that "entry of a

            notice of  appeal divests the district  court of jurisdiction

            to adjudicate  any matters  related to  the appeal."   United
                                                                   ______

            States v. Distasio, 820 F.2d 20, 23 (1st Cir. 1987).  But the
            ______    ________

            rule is not absolute, for even  after the appeal is filed the



                                         -57-
                                         -57-















            district  court  retains  authority  to  decide  matters  not

            inconsistent  with the pendency of the appeal.  See Spound v.
                                                            ___ ______

            Mohasco  Indus., Inc.  534  F.2d 404,  411  (1st Cir.)  cert.
            _____________________                                   _____

            denied,  429  U.S. 886  (1976).   A  district court  may, for
            ______

            example, determine  attorneys' fees after an  appeal has been

            taken or act in aid of  execution of a judgment that has been

            appealed but not  stayed.   See In re  Nineteen Appeals,  982
                                        ___ _______________________

            F.2d 603, 609 n.10 (1st  Cir. 1992); International Paper  Co.
                                                 ________________________

            v. Whitson, 595 F.2d 559, 561-62 (10th Cir.  1979).  We think
               _______

            that  the  substitution  of  assets orders  fit  within  this

            general category.

                 Criminal forfeiture orders are  something of a  mongrel.

            The  initial  forfeiture is  sought  in  the indictment  and,

            absent  a  waiver of  jury trial,  is  specified in  the jury

            verdict.   See Fed.  R.  Crim. P.  7(c)(2); 31(e).   But  the
                       ___

            statute  says that an order substituting assets is to be made

            by "the court."   18 U.S.C.    1963(m).   The implication  is

            that  such an order may commonly be entered after the initial

            forfeiture has been determined.  Indeed, the government might

            not even know  that substitution is necessary until  it seeks

            to take possession  of the property specified  in the initial

            forfeiture order. 

                 Under  these circumstances,  we  see no  reason why  the

            taking  of the  appeal  should divest  the district  court of

            authority to enter  an order forfeiting  substitute property.



                                         -58-
                                         -58-















            Appellants do not provide any reason to think that this would

            interfere   with,  or  contradict,   the  court  of  appeals'

            consideration of  the original  judgment of a  conviction and

            sentence, including the  initial forfeiture order.   Avoiding

            such  interference and  inconsistency is  the purpose  of the

            general rule  barring district  court proceedings  during the

            pendency of an appeal.  Venen v. Sweet, 758 F.2d 117, 121 (3d
                                    _____    _____

            Cir. 1985).  There  is no reason to  extend this ban  further

            than its own rationale.  

                 Of  course,  the  substitute  assets order,  if  one  is

            eventually  made, may give rise to new issues for appeal, but
                                               ___

            a  new  appeal  can  be   taken  directly  from  this  order.

            Similarly, a decision  of the appeals  court on the  original

            conviction could undermine the substitute assets order (e.g.,
                                                                    ____

            by  overturning  the   conviction  itself   or  the   initial

            forfeiture), but a substitute assets order can then be undone

            or overturned.  After all, determination of counsel fees in a

            section 1983 case presents  the same problem and is  resolved

            in  precisely  this  manner.   See,  e.g.,  Casa Marie  Hogar
                                           ___   ____   _________________

            Geriatrico,  Inc. v.  Rivera-Santos,  38 F.3d  615 (1st  Cir.
            _________________     _____________

            1994) (separate appeal of counsel fees subsequent to original

            judgment on the merits).

                 Appellants' other attack on the substitute assets orders

            is that those orders  countervail the double jeopardy clause,

            U.S. Const. amend. V, and principles of fundamental fairness.



                                         -59-
                                         -59-















            Appellants'  basic  argument   is  that  the  original   RICO

            forfeiture   orders  were  limited   to  forfeitures  of  the

            laundered monies and that  the orders extending forfeiture to

            substitute assets constituted either a second prosecution for

            the same  offense or  multiple punishments for  that offense.

            See North Carolina v.  Pearce, 395 U.S. 711, 717  (1969); see
            ___ ______________     ______                             ___

            also  Witte v. United States, 63 U.S.L.W. 4576 (U.S. June 14,
            ____  _____    _____________

            1995).

                 We found no case law directly in point but see no reason

            in principle  why the  substitute assets provision  should be

            regarded either  as a  second prosecution or  as a  forbidden

            multiple  punishment.   The fact  that the  substitute assets

            order  may  be  entered  at  some  time  after  the  original

            conviction does  not make it  a second prosecution,  any more

            than  sentencing  after conviction  is a  second prosecution.

            The substitution order is  entered in the original proceeding

            as  one of  a number  of steps,  primarily relating  to post-

            conviction sanctions,  that are  known to the  defendant from

            the outset.

                 As   for  the   claim   of   multiple  punishment,   the

            Constitution  does not  prevent  multiple  sanctions for  one

            offense  where  the sanctions  are  specified  in advance  by

            Congress   and  imposed  in   reasonable  proximity   to  the

            conviction:   a  fine  and imprisonment  is a  common federal
                                   ___

            sentence.  The situations  in which later increased penalties



                                         -60-
                                         -60-















            have been condemned as  multiple punishments are quite remote

            from  this case and involve aggravating elements that are not

            even arguably present here.  Arizona v. Rumsey, 467 U.S. 203,
                                         _______    ______

            209-12 (1984)  (death sentence);  Pearce, 395 U.S.  at 723-26
                                              ______

            (penalty for appeal).

                                   VII.  CONCLUSION
                                   VII.  CONCLUSION

                 A number  of the remaining arguments  made by appellants

            have  been addressed by  the court in  the decision affirming

            Stephen Saccoccia's  conviction  and need  not  be  discussed

            again.  These  include attacks on  certain references to  the

            Colombians,  on  the  admission  of dog  sniff  evidence,  on

            testimony by  Agent Shedd,  and on  tape excerpts  claimed to

            refer  to   cocaine  and   drug  money.     Similarly,  Donna

            Saccoccia's claims relating to extradition, to the extent not

            waived,  are in  substance covered  by the  earlier opinion's

            discussion   of   Stephen  Saccoccia's   counterpart  claims.

            Several  additional  arguments  (e.g.,   Kenneth  Saccoccio's
                                             ____

            "theory of the defense" instruction) have been considered but

            deemed not to require separate treatment.

                 The  charges  in this  case  involved  a  web of  multi-

            paragraph statutes  with intricate  provisions that  the jury

            had  to  apply to  numerous  transactions  involving multiple

            defendants and occurring over  a considerable period of time.

            In these  circumstances, we have  reviewed appellants' claims

            not only as individually  presented, but also with an  eye to



                                         -61-
                                         -61-















            making  certain  that no  innocent  person  has been  wrongly

            enmeshed  in criminal  proceedings.   We  are satisfied  that

            while several  debatable issues  have been raised  on appeal,

            there was no prejudicial error and that the verdict  returned

            by the jury was a just one.

                 Affirmed.
                 ________









































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